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UNITED STATES DISTRICT COURT                                        ~pi-~        1('!1; .,.,       rrvr,,l_-.._ 1,
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SOUTHERN DISTRICT OF NEW YORK



    Gebrial Rasmy,

                           Plaintiff,
                                                                                   16-CV-4865 (AJN)
                   -v-
                                                                                MEMORANDUM
    Marriott International, Inc., d/b/a JW Marriott                            OPINION & ORDER
    Essex House Hotel, et al.,

                           Defendants.




ALISON J. NATHAN, United States District Judge:

         Plaintiff Gebrial Rasmy brings this action against his former employer Marriott

International, Inc. d/b/a JW Marriott Essex House Hotel ("Marriott"), and his former co-workers,

Karen Doherty ("Doherty"), Stamatis Efstratiou ("Efstratiou") Mehran Tehrani ("Tehrani"), and

Sekson Pongpanta ("Pongpanta") (collectively, "Individual Defendants," or, with Marriott,

"Defendants"). 1 Rasmy asserts various claims under Title VII of the Civil Rights Act of 1964,

42 U.S.C. §§ 2000e, et seq. ("Title VII"), 42 U.S.C. § 1981, the New York State Human Rights

Law, N.Y. Exec. Law§ 290, et seq. ("NYSHRL"), and the New York City Human Rights Law,

N.Y.C. Admin. Code§§ 8-101, et seq. ("NYCHRL") centered on alleged racial, religious, and

national origin discrimination.




1
  Three of the four Individual Defendants are improperly pled, per Defendants' moving papers, as "Estratue
Stamatis," "Tehrani Mehrani," and "Sesskon Pongpanta." Memorandum of Law in Support of Defendants' Motion
for Summary Judgment ("Mot."), Dkt. No. 88, at 1, n.1.



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        Defendants move for summary judgment and, for the following reasons, the Court

GRANTS Defendants' motion as to all federal claims, and DECLINES to exercise supplemental

jurisdiction over the remaining NYSHRL and NYCHRL claims.

I. Procedural Background

        On June 22, 2016, Plaintiff Gebrial Rasmy, proceeding pro se at the time, filed a

complaint against Defendant Marriott International, Inc. See Dkt. No. 2. Marriott moved to

dismiss the complaint, and on February 24, 2017, the Court dismissed Plaintiffs hostile work

environment claims under city and state law for lack of subject matter jurisdiction, but otherwise

denied Marriott's motion. See generally Rasmy v. Marriott Int'!, Inc., No. 16-CV-4865 (AJN),

2017 WL 773604 (S.D.N. Y. Feb. 24, 2017). Shortly before the Court's decision on the motion

to dismiss issued, Plaintiff, now represented by counsel, moved to amend his complaint to add

the Individual Defendants and new claims under city law and 42 U.S.C. § 1981. After the

decision, and now with Defendants' consent to part of Plaintiffs proposed amendment,

Magistrate Judge Peck, to whom the matter was referred for general pretrial supervision, granted

Plaintiffs leave to amend. See Dkt. No. 58. The resulting First Amended Complaint, see Dkt.

No. 63, is operative here. On August 31, 2017, Defendants first moved for summary judgment,

but because of various filing errors, the briefing considered here was filed on October 25, 2017.

II. Factual Background2

         Gebrial Rasmy, also known as Kamal, was born in Egypt and is a Coptic Christian. Pl. 's

56.1 Opp. ,r 1. Defendant Marriott manages the JW Marriott Essex House ("the Essex House"),

located at 160 Central Park South, where Plaintiff has worked as a banquet server since the



2
 Except as otherwise noted, the following facts are not in dispute and are taken from Plaintiff's Opposition to
Defendants' 56.1 Statement ("PL 's 56.1 Opp."). See Dkt. No. 92.



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1990s. Pl.'s 56.1 Opp.      ,r,r 2, 7.    Efstratiou, born in Greece, Tehrani, born in Iran, and Pongpanta,

born in Thailand, also work as banquet servers at the Essex House. Pl.'s 56.1 Opp.                  ,r,r 4-6.
Doherty, born in the United Kingdom, is the Director of Human Resources for the Essex House.

Pl.'s 56.1 Opp.   ,r 3.   At all relevant times, the banquet servers' employment was governed by a

collective bargaining agreement ("CBA") negotiated with the New York Hotel and Motel Trades

Council, AFL-CIO (the "Union"). Pl.'s 56.1 Opp. ,r 8. The banquet servers elect their own co-

workers to serve as delegates to the Union; the delegates act as intermediaries between the

workers and the Union and Essex House management, but receive no additional compensation

for these duties. Pl. 's 56.1 Opp. ,r,r 9, 11-12. At all relevant times, Efstratiou and Tehrani served

as union delegates for the senior banquet servers, including Rasmy. Pl.'s 56.1 Opp. ,r 14.

        A. Initial Complaints (2012-2013)

         In or around September 2012, Marriott took over the management of the Essex House,

and soon after conducted training for the banquet team on the company's policies prohibiting

discrimination and harassment. Pl. 's 56.1 Opp.              ,r,r 18, 20.   In late 2012, Rasmy told Doherty that

associates were abusing scheduling practices, abusing their "power," and engaging in practices

that caused Marriott to lose money. Pl.'s 56.1 Opp.               ,r,r 24-25.   Doherty and others investigated

these charges. Pl.' s 56.1 Opp.          ,r 26.   According to Doherty, based on her investigation, she

informed Rasmy that the concerns he raised were permitted past practices under the CBA and

would continue. ~L's 56.1 Opp.             ,r 27. 3   Rasmy claims Doherty told him "I am sick and tired of

this shit, and I'm sick and tired also because of you I have to send tons of fucking documents to

[Arne Sorenson] because you have called the corporate about possible overcharging." Id.


3
 According to Rasmy, in the early 1990s he reported wage theft at the Essex House to the corporate office, and
within a week his report was verified and individuals were esco1ted out of work in handcuffs. Plaintiffs Additional
Material Facts ("Pl.'s Add'l Facts"), Dkt. No. 92, 13.



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        The parties dispute the authority given to and exercised by the Union delegates.

According to Marriott, when they took over management of the Essex House, they asked the

delegates to assist in getting Marriott managers up to speed on banquet department pay practices

to ensure Marriott complied with the CBA and past practices, but that non-delegates like Rasmy

were unaware of this. Pl.'s 56.1 Opp. ,i,i 22-23. Rasmy claims that the delegates did not just help

but were given supervisory authority, including the power to send employees home, and that the

granting of such authority was made clear to him. Id. Marriott insists that delegates have no

authority to fire, hire, discipline, or otherwise exercise supervision over associates, including

Rasmy. Pl.'s 56.1 Opp. ,i 13. After Doherty's investigation, Rasmy remained unhappy that

Tehrani, one of the delegates, was "abusing his 'power."' Pl. 's 56.1 Opp. ,i 29. Defendants claim

Rasmy got into an altercation with Tehrani on June 5, 2013, and an eyewitness stated that "it

looked like there was a risk of escalation to physical contact." Pl. 's 56.1 Opp. ,i,i 30-31. Rasmy

denies this. Id.

        Shortly after this "dispute," Rasmy attended a grievance meeting with the Union

regarding an unrelated altercation that occurred the same day, at which meeting Rasmy publicly

accused the delegates of overcharging the Essex House and of wage theft. Pl.' s 56.1 Opp. ,i,i 32-

33. One month later, Rasmy raised the same theft complaints to Doherty again. Pl.'s 56.1 Opp. ,i

36. Doherty gave Rasmy the contact information for Marriott's Business Integrity Line, and

continued an investigation into the "dispute" between Rasmy and Tehrani. Pl.' s 56.1 Opp. ,i,i 3 7-

38. In September 2013, Rasmy and others told Doherty that they heard Efstratiou tell Tehrani to

"send the old man home," referring to an older banquet server, and although Man-iott's

investigation could not substantiate the allegation, Doherty reminded Efstratiou that such

language was improper. Pl.'s 56.1 Opp. ,i,i 39-41. In October 2013, Rasmy delivered a letter to



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management reiterating his belief that Tehrani should not be making changes to the service

diagrams. Pl. 's 56.1 Opp. ,i 42.

        According to Marriott, in October 2013, the company "reinforced" its Policy Prohibiting

Harassment and Unprofessional Conduct to the entire banquet staff, including holding a special

training meeting on or about October 25, 2013. Pl.'s 56.1 Opp. ,i,i 44-50. Rasmy disputes that

this meeting occurred, but does not dispute that he received the anti-harassment policy from

Doherty and acknowledged receipt by signing the document. Pl.'s 56.1 Opp. ,i 48. One week

later, Marriott claims it delivered a PowerPoint presentation and discussed the behavior standard

with the entire banquet staff, at which presentation Rasmy publicly accused Efstratiou and

Tehrani of manipulating schedules and engaging in wage theft, charges which management

answered. Pl.'s 56.1 Opp. ,i,i 51-56. Plaintiff denies having participated in this meeting. Id.

        In November 2013, Rasmy called the Business Integrity Line, and Area Director of

Associate Relations Sue Birnie investigated Rasmy' s renewed allegations of wage theft,

concluding that they were unfounded. Pl.'s 56.1 Opp. ,i,i 59-61. Additionally, Rasmy

approached Doherty with allegations that Efstratiou and Tehrani called him a "rat," although

Rasmy alleges that he reported broader on-going discrimination in the workplace, and not just

the one epithet. Pl. 's 56.1 Opp. ,i 62. Doherty conducted an investigation, which Plaintiff claims

was lackluster and ineffective, and could not substantiate the allegations; nonetheless she claims

to have warned Efstratiou and Tehrani that such behavior was prohibited by company policy.

Pl. 's 56.1 Opp. iii! 63-64.

        B. Further Investigations and Alleged Altercations (2014-2016)

        In or about May 2014, Rasmy called the Business Integrity Line again and Birnie again

investigated and found no wrongdoing by the delegates. Pl.'s 56.1 Opp. ,i,i 65-66. That summer,



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Doherty investigated a claim Efstratiou asserted against Rasmy, namely that Rasmy allegedly

threatened him. Pl.'s 56.1 Opp. ii 67. During her investigation, Rasmy told Doherty for the first

time that Efstratiou had called him "fucking Egyptian," "camel," and "mummy," although

Rasmy claims Doherty knew or should have known of the on-going harassment well before late

2014. Pl.'s 56.1 Opp. ii 68. Rasmy never reported being physically threatened by the small

Efstratiou, and Doherty, who was unable to substantiate Rasmy's claims, nonetheless warned the

delegates that name-calling would not be tolerated. Pl. 's 56.1 Opp.   iiii 69-71.
         In January 2016, Rasmy drove to Marriott's corporate headquarters in Maryland and

spoke with Keith Wallace, Senior Director of Global Investigations, about his allegations of

wage theft. Pl.'s 56.1 Opp. ii 72. Rasmy also claims he made allegations of harassment and

retaliation to Wallace that Wallace did not investigate. Pl.'s 56.1 Opp.   iiii 72-73. Wallace
investigated Rasmy's wage theft claims and was unable to substantiate them. Pl.'s 56.1 Opp.       iiii
73-74.

         On May 9, 2016, Rasmy and Pongpanta worked at an event together, and near the end of

the night, a dispute arose between them in the hallway between the restaurant and the kitchen.

Pl.'s 56.1 Opp.   iiii 75-76. According to Marriott, the surveillance cameras point into the
restaurant and kitchen and did not capture footage of the hallway, although Rasmy disputes this

fact. Pl.' s 56.1 Opp.   iiii 77-78. Marriott promptly investigated the incident; Pongpanta reported
that Rasmy tried to strike him with a wooden board, called him a "piece of shit," threatened to

take him "outside," took a swing at him, and spat in his face and Rasmy reported that Pongpanta

spat in his face and told Rasmy that he was going to get his gun and "finish" Rasmy. Pl.' s 56.1

Opp. iiii 79-80. The primary eyewitness to the altercation told Marriott that Rasmy was

"speaking profanity to" Pongpanta and "verbally harassing" him "in a violent angry manner."



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Pl.'s 56.1 Opp. ,i 81. Rasmy claims that Pongpanta yelled at him "You got no fucking witnesses.

I got witnesses," Pl.'s 56.1 Opp. ,i 81, and the eyewitness claims Rasmy became "very

aggressive" toward the eyewitness, approached him "in an intimidating manner and stated, 'Are

you going to be witness for him now?"' Pl.' s 56.1 Opp. ,i,i 81-82. Rasmy and Pongpanta filed

reports against each other with the local police precinct. Pl.'s 56.1 Opp. ,i 83.

         On May 14, 2016, Marriott suspended Rasmy and Pongpanta pending further

investigation. Pl.'s 56.1 Opp. ,i 84. After the suspensions were implemented, Marriott received

letters from Rasmy's peers raising past instances of unprofessional conduct. Pl.'s 56.1 Opp. ,i 86.

Plaintiff disputes the specific instances and suggests that these coworkers were coerced or

threatened into signing petitions against him, but does not dispute the letters' existence.

         C. Plaintifr s Termination

         Marriott terminated both Rasmy and Pongpanta for the May 9 incident, effective May 24,

2016. Pl.'s 56.1 Opp. ,i 87. Both Rasmy and Pongpanta were treated the same, and the decision

to terminate them, while recommended by Doherty, was made by the business leaders. Pl.'s 56.1

Opp. ,i,i 88-89. Pongpanta filed a grievance through the Union and Marriott refused to reinstate

Pongpanta at the first-step grievance meeting nor at the second-step grievance mediation. Pl. 's

56.1 Opp. ,i,i 90-92. When mediation was unsuccessful, the Union pursued arbitration over

Pongpanta's termination. Pl. 's 56.1 Opp. ,i 93. Rasmy failed to appear at the arbitration despite

service of a subpoena, and over Marriott's objections, and due largely to Rasmy's absence, the

arbitrator ordered Pongpanta's reinstatement. Pl. 's 56.1 Opp. ,i 94. Rasmy never filed a

grievance through the Union and instead filed this lawsuit on June 22, 2016. Pl.'s 56.1 Opp. ,i,i

96-97.

III. Legal Standard



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       Summary judgment shall be granted "if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P.

56(a). The court must "construe the facts in the light most favorable to the non-moving party

and resolve all ambiguities and draw all reasonable inferences against the movant." Delaney v.

Bank ofAm. Corp., 766 F.3d 163, 167 (2d Cir. 2014) (internal quotation marks and alterations

omitted). If the court determines that "the record taken as a whole could not lead a rational trier

of fact to find for the non-moving party, there is no genuine issue for trial" and summary

judgment should be granted to the moving party. Matsushita Elec. Indus. Co., Ltd. v. Zenith

Radio Corp., 475 U.S. 574,587 (1986) (internal quotation marks and citation omitted).

       It is the initial burden of the movant to present evidence on each material element of its

claim or defense and demonstrate that it is entitled to relief as a matter oflaw. Vt. Teddy Bear

Co. v. 1-800 Beargram Co., 373 F.3d 241,244 (2d Cir. 2004). However, when the burden of

proof at trial would fall on the non-moving party, the moving party may meet its burden by

"point[ing] to a lack of evidence ... on an essential element" of the non-moving party's

claim. Cordiano v. Metacon Gun Club, Inc., 575 F.3d 199,204 (2d Cir. 2009). There is a

genuine issue of material fact if a reasonable jury could decide in the non-moving party's

favor. Nabisco, Inc. v. Warner-Lambert Co., 220 F.3d 43, 45 (2d Cir. 2000). The court "is not to

weigh the evidence but is instead required to view the evidence in the light most favorable to the

party opposing summary judgment, to draw all reasonable inferences in favor of that party, and

to eschew credibility assessments." Amnesty Am. v. Town of W Hartford, 361 F.3d 113, 122 (2d

Cir. 2004) (internal quotation marks omitted); accord Anderson v. Liberty Lobby Inc., 477 U.S.

242 (1986).




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       To survive a summary judgment motion, the non-moving party "must come forward with

specific evidence demonstrating the existence of a genuine dispute of material fact." Brown v. Eli

Lilly & Co., 654 F.3d 347,358 (2d Cir. 2011) (quoting Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986)). In doing so, the non-moving party ' "must do more than simply show that there is

some metaphysical doubt as to the material facts' and 'may not rely on conclusory allegations or

unsubstantiated speculation.'" Id. (quoting Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 586 (1986); FDIC v. Great Am. Ins. Co., 607 F.3d 288,292 (2d Cir. 2010)).

       Although "direct evidence of discriminatory intent is rare and such intent often must be

inferred from circumstantial evidence found in affidavits and depositions[, n]onetheless,

summary judgment remains available for the dismissal of discrimination claims in cases lacking

genuine issues of material fact." Schiano v. Quality Payroll Sys., Inc., 445 F.3d 597,603 (2d

Cir. 2006) (citations omitted); see also Abdu-Brisson v. Delta Air Lines, Inc., 239 F.3d 456,466

(2d Cir. 2001) (It is "beyond cavil that summary judgment may be appropriate even in the fact-

intensive context of discrimination cases.").

IV. Discussion

       A. Plaintiff's Religious, National Origin, and Race Discrimination Claims

       Plaintiff alleges religious, national origin, and racial discrimination against all

Defendants. As an initial matter, "[m]ost of the core substantive standards that apply to claims

of discriminatory conduct in violation of Title VII are also applicable to claims of discrimination

in employment in violation of§ 1981." Patterson v. Cty. of Oneida, NY., 375 F.3d 206,225 (2d

Cir. 2004). The differences that do exist are inapplicable here, except that the individual

Defendants cannot be held liable under Title VII. Id. at 225-227 (explaining the differences).




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       Under Title VII, to withstand a motion for summary judgment, a discrimination plaintiff

must satisfy the burden-shifting analysis set forth in McDonnell Douglas. McPherson v. NY

City Dep't of Educ., 457 F.3d 211,215 (2d Cir. 2006) (citing McDonnell Douglas Corp. v.

Green, 411 U.S. 792 (1973)). A plaintiff first bears the minimal burden of establishing aprima

facie case of discrimination. If he is so able, he is then aided by a presumption of discrimination

unless the defendant proffers a "legitimate, nondiscriminatory reason" for the adverse

employment action, in which event the presumption disappears and the plaintiff bears the greater

burden of proving that the employer's proffered reason was mere pretext for discrimination. Id.

        To establish a prima facie case of discrimination, Plaintiff must show that (1) he is a

member of a protected class; (2) he was qualified for the position; (3) he suffered an adverse

employment action; and (4) that action occurred under circumstances giving rise to an inference

of discriminatory intent. McDonnell Douglas, 411 U.S. at 802. Defendants offer no challenge to

Plaintiffs ability to satisfy the first three elements and instead focus on the fourth element. See

Memorandum of Law in Opposition to Defendants' Motion for Summary Judgment ("Opp."),

Dkt. No. 93, at 3-6.

               1. Plaintiff Fails To Establish a Prima Facie Case of Discrimination

        While the burden of making the prima facie showing of discrimination is de minimis, see

Joseph v. Leavitt, 465 F .3d 87 (2d Cir. 2006), Plaintiff has pointed to no facts suggesting that

adverse employment actions taken against him - namely, his termination- were at all related to

his religious practice as a Coptic Christian, or his Egyptian background. Circumstances

contributing to an inference of discrimination may include invidious comments about people in

the protected class, or more favorable treatment of employees outside of the protected class. See

Chambers v. TRM Copy Centers Corp., 43 F.3d 29, 37 (2d Cir. 1994). Accordingly, Plaintiff



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may satisfy his burden on the fourth element of the prim a facie test by showing that he was

"similarly situated in all material respects" to other individuals against whom he would have the

court compare him. Shumway v. United Parcel Serv., Inc., 118 F.3d 60, 64 (2d Cir. 1997).

       As the undisputed facts demonstrate, following the May 9, 2016 altercation between

Plaintiff and Mr. Pongpanta, both men were suspended and later terminated. While Pongpanta

was later reinstated by the ruling of an arbitrator - over Marriott's objections - both men were

treated identically. Mr. Pongpanta is neither Christian nor Egyptian. In cases in which multiple

employees are terminated for the same infraction, courts generally find that the plaintiff has

failed to meet the fourth element - that circumstances give rise to an inference of discriminatory

intent. See, e.g., Morales v. Rooney, No. 06-CV-1556 (RNC), 2010 WL 11469915, at *8 (D.

Conn. Mar. 31, 2010) (no primafacie discrimination because similarly situated fire inspectors

also terminated because of same misconduct); Randolph v. CIBC World Mkts., No. 0l-CV-11589

(RWS), 2005 WL 704804, at *13 (S.D.N.Y. Mar. 29, 2005) (noprimafacie case since similarly

situated employees fired for violation of same policy). Plaintiff provides no evidence that

supports a finding that other similarly situated employees outside his protected class received

more favorable treatment.

       Additionally, Plaintiff presents no direct evidence supporting an inference of

discrimination related to his termination. Rasmy claims that Doherty complained that his

repeated allegations of wage theft created more work for her, but no reasonable juror could find

that this suggests Doherty harbored an animus against Egyptians or Coptic Christians. Cf

Clemente v. NY State Div. ofParole, 684 F. Supp. 2d 366,374 (S.D.N.Y. 2010) (while

"evidence of anti-union animus permeates the record," no evidence suggesting union leader

plaintiff treated differently because she was Hispanic). In his opposition to summary judgment,



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Plaintiff recounts allegations that Doherty accused him of attempted murder and refused to show

Rasmy footage of the incident she claimed was captured on camera and concludes that this

alleged harassment "can only logically be attributable to discriminatory animus," but accepting

Plaintiffs version of events as true, no reasonable jury could find that the allegations support a

reasonable inference of discrimination.

       Plaintiff does allege that co-workers Pongpanta and Efstratiou made comments to

Plaintiff relating to his national origin and religion, but Plaintiff offers no evidence - disputed or

undisputed - connecting the comments to his termination. Even accepting Plaintiffs argument

that union delegates like Efstratiou had supervisory authority over Plaintiff, "where a supervisor

has no input into a termination decision, that supervisor's beliefs, actions, and statements do not

give rise to a discrimination claim." Stevens v. New York, No. 09-CV-5237 (CM), 2011 WL

3055370, at *6 (S.D.N.Y. July 20, 2011).

        In short, Plaintiff proffers no evidence - either of discriminatory animus on the part of

someone involved in his termination or of a comparative nature showing disparate treatment -

that supports an inference of discriminatory intent. Accordingly, his discrimination claim fails as

a matter of law.

                2. Even If Plaintiff Had Established a Prima Facie Case of Discrimination,
                   He Fails To Rebut Marriott's Non-Discriminatory Reasons as Pretextual

        Even assuming that Plaintiff had established a prima facie case of discrimination,

however, his claim would still fail as a matter of law. After a plaintiff demonstrates a prima

facie case of discrimination, the burden shifts to the defendants to "articulate some legitimate,

nondiscriminatory reason for its action," although it "need not persuade the court that it was

actually motivated by the proffered reason." Delaney, 766 F.3d at 168 (internal quotation marks




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omitted). If the defendant makes this showing, the presumption of discrimination is rebutted,

and the burden shifts back to the plaintiff to show "that a reasonable jury could conclude that the

employer's determination was in fact the result of discrimination." Ghent v. Moore, 324 F.

App'x 55, 56 (2d Cir. 2009) (citing Holcomb v. Iona Coll., 521 F.3d 130, 141 (2d Cir. 2008)).

At this step, the court considers evidence including "the strength of the plaintiffs prima facie

case," as well as "the probative value of the proof that the employer's explanation is false, and

any other evidence that supports [or undermines] the employer's case." James v. New York

Racing Ass'n, 233 F.3d 149, 156 (2d Cir. 2000) (quoting Reeves v. Sanderson Plumbing Prods.,

Inc., 530 U.S. 133, 149-50 (2000)) (internal quotation marks omitted; alterations in original).

Plaintiffs claim fails because he cannot provide sufficient evidence to support a finding by a

reasonable jury that Marriott's proffered non-discriminatory reasons for his termination were

pretext for discrimination.

       Marriott has met its burden of production in presenting a legitimate, nondiscriminatory

reason for Plaintiffs termination. Marriott claims that Plaintiff was terminated based on its

investigation of the May 9 incident, during which Rasmy was alleged to have threatened

Pongpanta with violence and spit in his face. PL' s 56.1 Opp.   ,r,r 79-80.   Regardless of the truth of

what actually occurred between the men, it is undisputed that the primary eyewitness to the

altercation at least partially supported Pongpanta' s allegations. Id. ,i 81. And the altercation is

undoubtedly a legitimate reason for discharge. See, e.g., Anderson v. Hertz Corp., 303 F. App'x

946, 947-48 (2d Cir. 2008) (deeming a physical altercation a legitimate, non-discriminatory

reason for termination); Oliveras v. Wilkins, No. 06-CV-3578 (DAB)(MHD), 2012 WL 3245494,

at *12 (S.D.N.Y. June 26, 2012), report and recommendation adopted by 2012 WL 3245493

(Aug. 3, 2012) (same).



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       However, when the burden shifts back to the Plaintiff to show that a reasonable jury

could find that the employer's proffered explanation is pretext for discrimination, he fails to meet

his burden. The Second Circuit has explained that "there are two distinct ways for a plaintiff to

prevail - either by providing that a discriminatory motive, more likely than not, motivated the

defendants or by proving that the reasons given by the defendants are not true and that

discrimination is the real reason for the actions." Gordon v. NY. City Bd. of Educ., 232 F.3d 111,

117 (2d Cir. 2000) (internal quotation marks omitted). Rasmy must offer "not simply some

evidence, but sufficient evidence to support a rational finding that the legitimate, non-

discriminatory reasons proffered by the defendant were false, and that more likely than not

discrimination was the real reason for the employment action." Weinstock v. Columbia Univ.,

224 F.3d 33, 42 (2d Cir. 2000) (internal quotation marks and alterations omitted).

       Plaintiff has not provided sufficient evidence to support a rational finding of pretext by a

reasonable jury. In opposing summary judgment on his discrimination claims, Plaintiff simply

states in a conclusory manner that he "has put forth sufficient evidence that would allow the jury

to determine whether Defendants acted with discriminatory animus when terminating Plaintiffs

employment." Opp. at 22. He adds a few more details in opposing summary judgment with

respect to his retaliation claims, elaborating that Marriott's proffered reason for termination is

pretextual because: "(1) Defendants' proffered reason did not happen; (2) Defendants suspended

and terminated Plaintiff because Plaintiff opposed Pongpanta's unlawful behavior; (3)

Defendants have proved to be inconsistent and arbitrary when doling out discipline for similar

offenses and; (4) Defendants refused to investigate or take disciplinary action when Plaintiff

complained, yet were more than willing to haphazardly investigate, suspend, and terminate

Plaintiff." Opp. at 16 (emphasis in original). Nonetheless, despite the addition of a few scant



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details, for substantially the same reasons Rasmy failed to establish his prima facie case of

discrimination, Rasmy has also not offered sufficient evidence to support a rational finding of

pretext.

           Specifically, Rasmy invites the inference that because, in his telling, he was not the

aggressor in the altercation and then was suspended prior to Marriott conducting a "meaningful

investigation," that this course of events suggests a pretextual reason for termination. Opp. at 16-

17. However, Rasmy does not specify how Marriott's investigation was insufficient, and the

record reflects that Marriott reviewed the incident reports both Pongpanta and Rasmy provided,

reviewed available video surveillance, 4 interviewed Pongpanta, Rasmy, and the eyewitness,

reviewed the eyewitness's written statement, and interviewed an additional potential witness. See

Reply at 3-4 (detailing the steps taken). Plaintiff has not explained how this investigation was

deficient or a departure from the business's normal protocol such that it might support an

inference of discriminatory animus. Plaintiff also asserts that Doherty attempted "to dissuade

Plaintiff from reporting discrimination." Opp. at 15. But that allegation suggests a retaliatory

motive, not a discriminatory motive.

           In sum, even drawing all inferences in Rasmy's favor, no reasonable jury could conclude

that Marriott acted with discriminatory animus in suspending and terminating Rasmy after the

altercation. "A plaintiffs self-serving statement, without direct or circumstantial evidence to

support the charge, is .. .insufficient." Risco v. McHugh, 868 F. Supp. 2d 75, 99 (S.D.N.Y. 2012).




4
  Mr. Rasmy offers no proof that Marriott has additional video they have refused to provide him. The non-moving
party' "must do more than simply show that there is some metaphysical doubt as to the material facts' and 'may not
rely on conclusory allegations or unsubstantiated speculation."' Brown v. Eli Lilly & Co., 654 F.3d 347,358 (2d Cir.
2011) (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,586 (1986)).



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       For the foregoing reasons, Plaintiffs discrimination claims under Title VII and Section

1981 fail as a matter of law.

               3. Plaintiff Cannot Establish Liability against the Individual Defendants for
                  Discrimination Either

       To establish individual liability under§ 1981, a plaintiff must demonstrate "some

affirmative link to causally connect the actor with the discriminatory action." Whidbee v.

Garzarelli Food Specialties, Inc., 223 F.3d 62, 75 (2d Cir. 2000) (internal quotation marks and

citation omitted). As noted above, Rasmy has alleged that his fellow banquet servers made

discriminatory remarks, but has failed to demonstrate how any of them were involved in his

termination. With respect to Doherty, even if she was involved in terminating Plaintiff, as stated

above, Plaintiff has not connected her to any discriminatory comments or actions. Accordingly,

Plaintiff cannot establish individual liability under § 1981.

       B. Plaintifrs Retaliation Claim

       As with the disparate treatment claims addressed above, federal retaliation claims are

reviewed under the familiar burden-shifting approach of McDonnell Douglas. See Zann Kwan v.

Andalex Grp., LLC, 737 F.3d 834, 843 (2d Cir. 2013).

       In order to establish a prima facie case of retaliation, an employee must show (1)

participation in a protected activity known to the defendant; (2) an employment action

disadvantaging the plaintiff; and (3) a causal connection between the protected activity and the

adverse employment action. Feingold v. New York, 366 F.3d 138, 156 (2d Cir. 2004) (internal

quotation marks and citation omitted). The plaintiffs burden of proof as to this first step "has

been characterized as 'minimal' and 'de minimis."' Jute v. Hamilton Sundstrand Corp., 420 F.3d

166, 173 (2d Cir. 2005) (citations omitted).




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       As an initial matter, it is important to clarify that Plaintiffs wage theft complaints are not

a "protected activity" as contemplated by Title VIL See, e.g., Kamrowski v. Morrison Mgmt.

Specialist, No. 05-CV-9234 (KMK), 2010 WL 3932354, at *20 (S.D.N.Y. Sept. 29, 2010)

("Title VII does not protected employees from retaliation for opposing misbehavior of co-

workers or supervisors that is umelated to discrimination on account of one of the protected

classes."); Santucci v. Veneman, No. 0l-CV-6644 (CBM), 2002 WL 3125515, at *3 (S.D.N.Y.

Oct. 8, 2002) (collecting cases for the same proposition). Accordingly, in considering whether

Plaintiff can establish the third prong of the prima facie test, the question is whether his

complaints to Doherty and Marriott about discrimination are causally connected to his

termination.

        It is on this third prong that Plaintiffs claim fails, as no reasonable jury could find that

Plaintiff was terminated because he had complained of discrimination. To demonstrate this

causal link, the "plaintiff must plausibly allege that the retaliation was a 'but-for' cause of the

employer's adverse action." Vega v. Hempstead Union Free Sch. Dist., 801 F.3d 72, 90 (2d Cir.

2015) (citing Univ. ofTex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 360 (2013)). That is, Rasmy

would have to show that "the adverse action would not have occurred in the absence of the

retaliatory motive." Id. at 91.

        Plaintiff relies heavily on the liberal standards at play, noting that "[t]he determination of

whether retaliation was a 'but-for' cause, rather than just a motivating factor, is particularly

poorly suited to disposition by summary judgment, because it requires weighing of disputed

facts, rather than a determination that there is no genuine dispute as to any material fact." Opp. at

12 (quoting Zann Kwan, 737 F.3d at 846 n.5). However, Plaintiff carries the burden of

establishing his prima facie case. Plaintiff has no direct evidence - disputed or undisputed -



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suggesting that his termination was related to his complaints of discrimination. He seems to

suggest that there is circumstantial evidence of discrimination, pointing to Doherty' s alleged

statement to him that Plaintiff "better keep [his] fucking mouth shut if [he] want[ s] to keep [his]

job here," but offers no reason to believe Doherty's reaction related to his complaints of

discrimination rather than his reports of alleged wage theft. In general, plaintiffs may also plead

a causal connection by showing temporal proximity - that the protected activity was followed

closely in time by adverse employment action. See Vega, 801 F.3d at 90-91; Zann Kwan, 737

F.3d at 846. However, in this case, Plaintiff alleges to have complained about discrimination for

years prior to his termination, and the last complaint he raised- in January 2016 - is five months

prior to his termination. On the basis of this undisputed timeline of events, no reasonable juror

could find that Marriott would not have terminated Rasmy but for his complaints of

discrimination.

       As detailed above, even if Plaintiff were able to establish a prima facie case of retaliation,

Defendants have proffered a legitimate explanation for Plaintiffs termination - that it was a

result of an investigation into reports of a physical altercation between him and Pongpanta - and

no reasonable jury could conclude that Defendants' stated reason is mere pretext for retaliatory

motives linked to his protected activities. As Plaintiff states in his brief, "[a] plaintiff may prove

that retaliation was a but-for cause of an adverse employment action by demonstrating

weaknesses, implausibilities, inconsistencies, or contradictions in the employer's proffered

legitimate, nonretaliatory reasons for its action. From such discrepancies, a reasonable juror

could conclude that the explanations were a pretext for a prohibited reason." Opp. at 13-14

(quoting Zann Kwan, 737 F.3d at 846-47). However, Plaintiff has not offered sufficient evidence

that would allow a reasonable juror to make a rational finding of pretext. The statements he



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points to as suggesting retaliatory motive, such as Doherty's alleged comment that Plaintiff

"better keep [his] fucking mouth shut if [he] want[s] to keep [his] job here," do not connect to

any discriminatory animus linked to any protected status, and Plaintiffs conclusory statement

that "Defendants' haphazard, inconsistent, and disparate investigation methods indicate" pretext

is not based on any evidence in the record. Opp. at 17. Plaintiffs sole citation supporting this

contention references Plaintiffs allegation that in 2013 Doherty falsely accused Rasmy of having

grabbed Efstratiou and attempted to throw him onto a slicing machine. See Opp. at 17 (citing

Pl.'s Add'l Facts il 12). But even making all available inferences in the Plaintiffs favor, no

reasonable jury would conclude that this allegation dating to 2013 supports the argument that the

stated reasons for his termination three years later were pretextual.

       In sum, Defendants are entitled to summary judgment on Plaintiffs retaliation claim as a

matter of law.

        C. Hostile Work Environment Claim

                 1. Defendants Are Entitled to Summary Judgment under Federal Law

        In order to survive summary judgment on a federal hostile work environment claim, !l.

plaintiff must produce evidence that "the workplace was permeated with discriminatory

intimidation, ridicule, and insult, that was sufficiently severe or pervasive to alter the conditions

of the victim's employment." Patterson, 375 F.3d at 227 (alterations and internal quotation

marks omitted). The test has "objective and subjective elements: the misconduct must be 'severe

or pervasive enough to create an objectively hostile or abusive work environment,' and the

victim must also subjectively perceive that environment to be abusive." Alfano v. Costello, 294

F.3d 365,374 (2d Cir. 2002) (quoting Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993)). "A

hostile working environment is shown when the incidents of harassment occur either in concert



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or with regularity that can reasonably be termed pervasive," Fincher v. Depository Tr. &

Clearing Corp., 604 F.3d 712, 724 (2d Cir. 2010) (citation omitted), or through evidence of "a

single incident of harassment that is 'extraordinarily severe."' Id. (citations omitted). Whether a

reasonable person would find a given work environment hostile depends on the "totality of the

circumstances," consideration of which includes factors such as "the frequency of the

discriminatory conduct; its severity; whether it is physically threatening or humiliating, or a mere

offensive utterance; and whether it unreasonably interferes with [the] employee's work

performance." Harris, 510 U.S. at 23.

        The harassment Rasmy alleges does not establish a hostile work environment under Title

VII as a matter of law. Plaintiff argues that whether the comments he alleges "were severe and

pervasive and/or above a petty slight or trial inconvenience .. .is a question of fact for a jury."

Opp. at 10. This is not the case. Courts are regularly tasked with reviewing the totality of the

circumstances to determine whether Plaintiff has met the elements required to establish a federal

work environment claim, including whether the misconduct is "severe or pervasive enough to

create an objectively hostile or abusive work environment." See McGullam v. Cedar Graphics,

Inc., 609 F.3d 70, 79 (2d Cir. 2010) (internal quotation marks and citation omitted).

        Rasmy's subjective perception notwithstanding, his allegations are insufficient to meet

the objective element. First, comments made about Rasmy being a "rat" do not relate to his

membership in any protected class, and so are not relevant to Plaintiffs hostile work

environment claim. See, e.g., Bright v. Coca Cola Refreshments USA, Inc., No. 12-CV-234

(BMC), 2014 WL 5587349, at *9 (E.D.N.Y. Nov. 3, 2014) (threat without indication it was

motivated by a discriminatory animus does not raise a material issue of fact on plaintiffs hostile

work environment claim), ajf'd 639 F. App'x 6 (2d Cir. 2015); Nolley v. Swiss Reins. Am. Corp.,



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857 F. Supp. 2d 441,456 (S.D.N.Y. 2012). Similarly, Plaintiffs allegations about Doherty's

threatening behavior are not alleged to relate to Rasmy' s status as a Christian or Egyptian.

Plaintiff alleges that Doherty accused him of attempted murder but then refused to show Rasmy

video footage she claims showed the incident. Id. at 8. However, Plaintiffs claim that the

Doherty's alleged behavior "can only logically be attributable to discriminatory animus" is

entirely speculative and unsupported by any evidence in the record. See, e.g., Nieblas-Love v.

NY.C. Haus. Auth., 165 F. Supp. 3d 51, 68 (S.D.N.Y. 2016) (rejecting Plaintiffs bare

speculation linking behavior to discriminatory motive as insufficient to defeat a motion for

summary judgment); accord Boise v. New York Univ., No. 03-CV-5862 (RWS), 2005 WL

2899853, at *4 (S.D.N.Y. Nov. 3, 2005) ("Personal speculation is insufficient as a matter oflaw

to raise an inference of discrimination.").

        Second, Plaintiffs religious discrimination claim is based upon allegations that Efstratiou

made offensive remarks not directed at Plaintiff. Plaintiff writes in his opposition brief that

Efstratiou would tell Plaintiff, who he knew to be a devout Christian, that "God is garbage" and

"Religions [are] for the stupid people," but in his deposition Plaintiff does not allege that

Efstratiou said any of these statements to him. 5 See Tr. 400:12-19 ("He believe that the idea of

God is garbage. Religions [are] for the stupid people."). While discriminatory behavior not

directed at the plaintiff can still contribute to the creation of an overall hostile work environment,

see Cruz v. Coach Stores, Inc., 202 F.3d 560, 571 (2d Cir. 2000), general anti-religion statements



5
  Moreover, the coworker who is alleged to have said derogatory things about Christians, Efstratiou, is himself
Christian. While people can discriminate against members of their own group, see Oncale v. Sundowner Off.shore
Servs., Inc., 523 U.S. 75, 78 (1998), the shared identity may be seen to undermine inferences of discriminatory
animus. See, e.g., Olorode v. Streamingedge, Inc., No. l 1-CV-6934 (GBD)(AJP), 2014 WL 1689039, at *16
(S.D.N.Y. Apr. 29, 2014), report and recommendation adopted by 2014 WL 3974581 (Aug. 13, 2014); Drummond
v. !PC Int'!, Inc., 400 F. Supp. 2d 521,532 (E.D.N.Y. 2005).



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of this nature not directed at the plaintiff personally are "stray remarks at best." See Velez v. SES

Operating Corp., 07-CV-10946 (DLC), 2009 WL 3817461, at *11 (S.D.N.Y. Nov. 12, 2009)

(noting that a discriminatory comment overheard by plaintiff is best characterized as a "stray

remark" that is not probative of a discriminatory motive); Green v. Harris Puhl 'ns, Inc., 331 F.

Supp. 2d 180, 192 (S.D.N.Y. 2004) (granting summary judgment on the hostile work

environment claim and finding that two racially discriminatory comments overheard by the

plaintiff "were stray remarks at best"). There are no facts in the record to support the inference

that Plaintiff was personally targeted by any anti-Christian animus, nor that he experienced

anything more than a petty slight in his work environment regarding his religious practice.

        Third, Plaintiff alleges numerous comments made by Efstratiou and Pongpanta about his

national origin - such as "Egyptian mother fuck," "mummy mother fucker" - and, while

unsupported by the record, Plaintiff contends in his opposition brief that these comments were an

"almost daily part of Plaintiffs work-life." Opp. at 6. In his deposition, Plaintiff stated that

Efstratiou "used to refer to me while I'm passing by him, He's a fucking Egyptian rat. He's a

fucking mummy. Where's the fucking mummy? Is this his table? All kinds of things. And that

went on and on and on and on." Pl.'s Add'l Facts ,r 5 (citing Rasmy Tr. 399:17-400:19). Rasmy

also alleged that Pongpanta said "Here is the Egyptian mother fuck," or "He's a mummy mother

fucker." Id. (citing Rasmy Tr. 193:6-10). For reasons explained below, this evidence is

insufficient to establish liability under federal law.

        Fourth and finally, Plaintiff points to other incidents or statements he argues are part of

the pattern of discriminatory behavior. For example, Rasmy alleges that Defendants circulated

petitions against him containing false accusations of workplace improprieties in order to harass




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him. See Pl.'s Add'l Facts ,r,r 6-7. 6 Rasmy claims that Tehrani and Pongpanta pressured his

manager, Jay Jones, to make a false claim as well, and that Jones later admitted making it up.

Opp. at 7. 7 Again, as with the "rat" -oriented comments, Plaintiff points to no evidence in the

record - disputed or undisputed - that suggests these actions were discriminatory in nature.

Moreover, to the extent that Plaintiff attempts to point to any insufficiencies in Marriott's

investigation of his claims, courts in this Circuit have been clear that a failure to remediate

cannot itself contribute to a hostile work environment claim under federal law. See Fincher v.

Depository Tr. & Clearing Corp., 604 F.3d 712, 724 (2d Cir. 2010) (collecting cases).

         Accordingly, the evidence of discrimination Plaintiff offers amounts to the third category

of evidence described above: comments made by Efstratiou and Pongpanta about his Egyptian

nationality. Applying these allegations to the relevant standard, Defendants are entitled to

summary judgment under Title VII. As noted above, to survive summary judgment a plaintiff

must produce evidence of discriminatory ridicule "that was sufficiently severe or pervasive to

alter the conditions of the victim's employment." Patterson, 375 F.3d at 227 (alterations and

internal quotation marks omitted).

         Here, the incidents Rasmy describes are not sufficiently "severe" as to have altered his

working conditions. In Mathirampuzha v. Potter, the Second Circuit concluded that an incident

in which the plaintiffs supervisor "grabbed the plaintiffs arm, punched him in the shoulder and

chest, spit in his face, and poked him in the eye" was "not so severe as to alter materially the

plaintiffs working conditions." 548 F.3d 70, 73, 79 (2008) (contrasting the incident with "rape"



6
  Plaintiff did not provide the full section of the transcript of his own deposition that he relies upon for support, so
his self-supported claim cannot be verified by the Court.
7
  Again, Plaintiff did not provide the full section of the transcript of his own deposition that he relies upon for
support, so his self-supported claim cannot be verified by the Court.



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or an "obscene and humiliating verbal tirade that undermines the victim's authority in the

workplace"). If a physical encounter of the type alleged in Mathirampuzha was not severe

enough, then no rational jury could find that the incidents Rasmy alleges were severe enough to

have altered his working conditions. Cf Johnson v. Morrison & Foerster LLP, No. 14-CV-428

(JMF), 2015 WL 845723, at *7 (S.D.N.Y. Feb. 26, 2015) (holding that one incident where a co-

worker looked "aghast" when the plaintiff told her his age and "consequently made fewer

requests of him ... falls well short of being so extraordinarily severe to have altered the

conditions of his working environment" (internal quotation marks omitted)).

       As for the pervasiveness of the incidents Rasmy alleges, while there is no support in the

record for his contention in his opposition brief that the comments from Efstratiou and

Pongpanta were an "almost daily part of Plaintiffs work-life," Opp. at 6, a reasonable jury might

still conclude that Plaintiffs testimony that Efstratiou "used to refer to me" using various

derogatory phrases and that the remarks "went on and on and on" suggests pervasive

discrimination. Nonetheless, the Court need not decide whether the alleged remarks amount to

"pervasive" conduct, because there is nothing in the record from which a reasonable jury could

conclude that the alleged discrimination "alter[ed] the conditions of [his] employment." Cruz,

202 F.3d at 570. As offensive as Plaintiffs coworkers' alleged statements were, when

considering the factors set forth by the Supreme Court in Harris and noted above, the record

presents a plaintiff who worked side-by-side with these coworkers for many years without

incident, has not alleged that he was ever physically threatened, and described no way in which

the comments, however degrading, interfered with his work performance.

        Given the totality of circumstances, including the unmistakable inference from the timing

of the comments after years without incident that his coworkers were likely motivated by



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personal animus in response to Plaintiffs allegations of wage theft more than any discriminatory

animus, no reasonable jury could find Plaintiffs alleged treatment so severe or pervasive that his

work conditions were altered. See, e.g., Brown v. Coach Stores, Inc., 163 F.3d 706, 713 (2d Cir.

1998) (holding that a supervisor's occasional racist remarks "fail[ed] to constitute discriminatory

behavior that is sufficiently severe or pervasive to cause a hostile environment"); De la Cruz v.

City ofNY., 783 F. Supp. 2d 622,644 (S.D.N.Y. 2011) (finding that a defendant's "stray

remarks" regarding the plaintiffs seniority and lack of physical fitness did not establish a hostile

work environment claim). Thus, Defendants are entitled to summary judgment on Plaintiffs

hostile work environment claims under Title VIL

IV. The Court Declines to Exercise Supplemental Jurisdiction over the Remaining State
and Local Law Claims

       The Supreme Court has commented that "in the usual case in which all federal-law

claims are eliminated before trial, the balance of factors to be considered under the pendent

jurisdiction doctrine - judicial economy, convenience, fairness, and comity - will point toward

declining to exercise jurisdiction over the remaining state-law claims." Carnegie-Mellon Univ. v.

Cohill, 484 U.S. 343,350 n.7 (1988).

       The Court finds no reason to deviate from normal practice here. Because "the Court has

not yet invested resources necessary to resolve [these] claims," and because "[t]he extensive

discovery already taken is likely sufficient to enable [these] claims to be evaluated in state court

without any additional discovery," see Vuona v. Merrill Lynch & Co., Inc., 919 F. Supp. 2d 359,

393 (S.D.N.Y. 2013), the Court declines to exercise supplemental jurisdiction over Plaintiffs

NYSHRL and NYCHRL claims and thus dismisses the claims without prejudice.

V. Conclusion




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       For the foregoing reasons, the Court GRANTS Defendants' motion as to all federal

claims, and DECLINES to exercise supplemental jurisdiction over the remaining NYSHRL and

NYCHRL claims and dismisses them without prejudice. Accordingly, the Clerk of Court is

respectfully directed to enter judgment and close the case. This order resolves Dkt. No. 83.

       SO ORDERED.




Dated: September_, 2018
       New York, New York



                                                    United States District Judge




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